Form TRANSC

                                    UNITED STATES BANKRUPTCY COURT
                                      California Northern Bankruptcy Court

In re Debtor(s):                                                          Case No.: 19−30088 DM 11
                                                                          Chapter: 11
PG&E Corporation



                               NOTICE OF FILING OF TRANSCRIPT
                     AND DEADLINES RELATED TO RESTRICTION AND REDACTION




A transcript of the proceeding held on June 19, 2020 at 12:00 PM was filed on June 22, 2020. The following
deadlines apply:

The parties have until Monday, June 29, 2020 to file with the court a Notice of Intent to Request Redaction of this
transcript. The deadline for filing a request for redaction is Monday, July 13, 2020.

If a request for redaction is filed, the redacted transcript is due Thursday, July 23, 2020.

If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is Monday, September 21, 2020, unless extended by court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber,

Jason Gottlieb
Attn: Jason Gottlieb, Dir. of Tran. Ops.
7227 N 16th St. #207
Phoenix, AZ 85020

or you may view the document at the clerk's office public terminal.




Dated: 6/25/20                                       For the Court:


                                                     Edward J. Emmons
                                                     Clerk of Court
                                                     United States Bankruptcy Court




      Case: 19-30088         Doc# 8066-1         Filed: 06/22/20       Entered: 06/22/20 14:48:50         Page 1
                                                          of 1
